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                           UNITED STATES DISTRICT COURT

                             FOR THE DISTRICT OF IDAHO


QUICKSILVER AIR, INC., RICHARD C.            )
SWISHER and SHARON SWISHER,                  )   Case No. 3:cv-12-06-BLW
                                             )
                 Plaintiffs,                     ORDER OF DISMISSAL WITHOUT
                                             )   PREJUDICE AS TO DEFENDANT
vs.                                          )   ARROW AVIATION, LLC
                                             )
HELICOPTER ENGINE REPAIR                     )
OVERHAUL SERVICES, INC. t/a                  )
H.E.R.O.S., INC., THE TIMKEN                 )
COMPANY, ROLLS-ROYCE                         )
CORPORATION,
                                             )
                 Defendants.                 )
                                             )
                                             )
CRAIG WHITE and BETHANY WHITE,               )
husband and wife,                            )
                 Plaintiffs,                 )
                                             )
vs.                                          )
                                             )
QUICKSILVER AIR, INC., an Alaska             )
corporation; THE TIMKEN COMPANY, an )
Ohio corporation, doing business as TIMKEN )
ALCOR AEROSPACE TECHNOLOGIES,
INC., a foreign Arizona company; H.E.R.O.S., )
INC., a California corporation; ARROW        )
AVIATION, LLC, a Louisiana limited liability )
company; 11 AEROSPACE LLC, an Arizona )
limited liability company, doing business as )
ASI SERVICES; RICHARD C. SWISHER; )
JOHN OR JANE DOES 1-X; and DOE
CORPORATIONS, XI-XX,                         )
                                             )
                 Defendants.                 )
                                             )
                                             )
GEORGE PAULEY,                               )
                                             )
                 Plaintiff,
                                             )

ORDER OF DISMISSAL WITHOUT PREJUDICE AS TO DEFENDANT
ARROW AVIATION, LLC - 1
                                                                           46095.0001.5561159.1
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vs.                                          )
                                             )
QUICKSILVER AIR, INC., an Alaska             )
corporation; THE TIMKEN COMPANY, an
Ohio corporation, doing business as TIMKEN )
ALCOR AEROSPACE TECHNOLOGIES, )
INC., a foreign Arizona company; H.E.R.O.S., )
INC., a California corporation; ARROW        )
AVIATION, LLC, a Louisiana limited liability )
company; 11 AEROSPACE LLC, an Arizona )
limited liability company, doing business as )
ASI SERVICES; RICHARD C. SWISHER;
JOHN OR JANE DOES 1-X; and DOE               )
CORPORATIONS, XI-XX,                         )
                                             )
                 Defendants.                 )
                                             )

       THIS MATTER having come before the Court on the Stipulation to Dismiss Defendant

Arrow Aviation LLC Without Prejudice, and the Court having been fully advised in the

premises,

       IT IS HEREBY ORDERED that the Complaints filed as against Defendant Arrow

Aviation, LLC in:

       1.       White, et al. v. Quicksilver Air, Inc., et al., Case No. CV12-00009, in the Second

                Judicial District of the State of Idaho, removed as Case No. 3:12-cv-00366 to the

                U.S. District Court for the District of Idaho, and consolidated herein;

       2.       Pauley v. Quicksilver Air, Inc., et al., Case No. CV11-02581, in the Second

                Judicial District of the State of Idaho, removed as Case No. 3:12-cv-00367 to the

                U.S. District Court for the District of Idaho, and consolidated herein,

and all related pending motions and matters, and the actions brought by Plaintiffs George Pauley

and Craig and Bethany White, are hereby dismissed without prejudice as against Defendant

Arrow Aviation, LLC, each party to pay their own costs, expenses, and attorney fees.


ORDER OF DISMISSAL WITHOUT PREJUDICE AS TO DEFENDANT
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       IT IS FURTHER ORDERED, that this Order shall be deemed entered on the same date

and time the Stipulation of Dismissal (docket no. 66 in CV-12-06-BLW; docket no. 40 in CV-

12-366-BLW; and docket no. 37 in CV-12-367-BLW) was filed on January 18, 2013, and the

Clerk shall transmit this Order along with the rest of the file to the Central District of California

pursuant to the Court’s decision.



                                                       DATED: January 22, 2013


                                                       ________________________
                                                       B. Lynn Winmill
                                                       Chief Judge
                                                       United States District Court




ORDER OF DISMISSAL WITHOUT PREJUDICE AS TO DEFENDANT
ARROW AVIATION, LLC - 3
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